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19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page1of41 Page ID#:1

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Attorneys for Defendant JOHN COOK

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - WESTNER DIVISION

BRUCE HYMANSON, an individual | Case No.

Plaintiff, NOTICE OF REMOVAL OF
ACTION UNDER
VS. 28 U.S.C. § 1441(A) FEDERAL
QUESTIO
MAD DOGG ATHLETICS, INC.;

JOHN COOK; JOHN BAUDHUIN
and DOES 1 through 10, inclusive.

Defendants.

 

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant JOHN COOK hereby
removes to this Court the state court action described below.

1. On June 6, 2019, an action was commenced in the Superior Court of
the State of California, County of Los Angeles, entitled Hymanson, Bruce v.
Mad Dogg Athletics, Inc., et al., as case number 19STCV19798. Attached as
Exhibit A is a copy of the state court complaint.

2. The first date upon which Defendant JOHN COOK received a copy
of the said complaint was July 17, 2019, when Defendant was served with a
copy of the said Complaint and a summons from the said state court.

Attached as Exhibit B is a copy of the summons. Attached as Exhibit C is a

1
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)

 

 

 
Case 21/L9-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 2of41 Page ID#:2

1 || copy of the Civil Case Cover Sheet and its Addendum. Attached as Exhibit
2 ||D is a copy of Defendant’s Notice to the Clerk of the Superior Court and
3 || Adverse Party of Removal to Federal Court Under 28 U.S.C. § 1441(A).

3. This action is a civil action of which this Court has original

a

jurisdiction under 28 U.S.C. § 1331, and is one which may be

removed to this Court by defendant(s) pursuant to the provisions of 28 U.S.C.
§ 1441(a) in that it arises under 28 U.S.C. § 1338(a).

8 4, Defendants MAD DOGG ATHLETICS and JOHN BAUDHUIN

9 ||joined in this Notice of Removal by the filing of a Joinder in the Notice of

sa HD NM

10 ||Removal of Action.
11
12 || Dated: July 26, 2019 ARDENT LAW GROUP, P.C.

13

By: /s/ Hubert H. Kuo

14 Hubert H. Kuo
Jennifer Berschauer

15 David Yu
Attorneys for Plaintiff
16 JOHN COOK

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)

 

 

 
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19-cv-06519-CAS-MRW Document 1 Filed 07/26/19 Page 3 of 41 Page ID #3

PROOF OF SERVICE
I am employed in the County of Orange, State of California. I am over
the age of 18 and not a party to the within action; my business address is
Ardent Law Group, P.C., 4340 Von Karman Ave., Newport Beach, CA
92660.
On July 26, 2019, I served the foregoing document described as

follows:

NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)
FEDERAL QUESTION

BY U.S. FIRST CLASS MAIL

Kenneth D. Watnick, Esq.

ANDERSON, McPHARLIN & CONNERS LLP
707 Wilshire Blvd., Suite 4000

Los Angeles, CA 90017-3623

Tel: (213) 688-0080

Fax: (213) 622-7594

Joel D Voelzke, Esq.

IP LAW OFFICES OF JOEL VOELZKE, APC
24772 W. Saddle Peak Rd.

Malibu, California 90265

Tel: (310) 317-4466
Attorneys for Plaintiff BRUCE HYMANSON

Executed on July 26, 2019 at Newport Beach, California.

o (State) I declare under penalty of perjury under the laws of the State of
California that the above is true and correct.
(Federal) I declare that I am employed in the office of a member of the

bar of this court at whose direction the service was made.

David Yu /s/ David Yu
Type or Print Name Signature

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NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)

 

 
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 4of41 Page ID#4

EXHIBIT A
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Assigned for all purposes to: Stanley Mosk Courthouse, Judicial Officer: Robart Broadbelt

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kdw@amclaw.com

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Attorneys for Plaintiff BRUCE HYMANSON

SUPERIOR COURT OF THE STATE OF CALIFORNIA
FOR THE COUNTY OF LOS ANGELES, CENTRAL DISTRICT

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BRUCE HYMANSON, Case No.
Plaintiff, Assigned to Hon. _, Dept.
vs. Action Filed:
MAD DOGG ATHLETICS, INC.; JOHN COMPLAINT
COOK; JOHN BAUDHUIN; AND DOES 1
THROUGH 10, INCLUSIVE, Trial Date: None
Defendants.

 

 

Plaintiff, Bruce Hymanson (“Hymanson’”), alleges and states as follows:
GENERAL ALLEGATIONS

l, Hymanson is and, at all relative times, was a citizen of the State of the California
with his residence in the County of Los Angeles.

2. Mad Dogg Athletics, Inc. (“Mad Dogg”) is a California corporation with its
principal place of business in Venice, California.

3. Hymanson is informed and believes that John Cook (“Cook”) is an employee of
Mad Dogg and a citizen of the State of California. Hymanson is not aware of the county in which

Cook resides.

 

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4. John Baudhuin is the shareholder and Chief Executive Officer of Mad Dogg.
Hymanson is informed and believes that Mr. Baudhuin is a citizen of the State of California and
works in the County of Los Angeles.

5. Hymanson is ignorant of the true names and capacities of defendants sued herein as
DOES 1 through 10, inclusive, and therefore sues said defendants and each of them by such
fictitious names. Hymanson is informed and believes, and thereon alleges that each of the said
fictitiously named defendants is responsible in some manner for the occurrences herein alleged,
and Hymanson’s damages were the result of the acts or omissions of said defendants and each of
them. Hymanson shall seek leave of the Court to amend this Complaint to allege the true names
and capacities of said defendants when ascertained,

6. Hymanson is informed and believes, and thereon alleges, that at all times relevant
herein, defendants and each defendant were each other’s agents, employees, partners, co-
venturers, or representatives. Hymanson is informed and believes, and thereon allege, that at all
times relevant herein, in performing the acts or omissions herein alleged, that defendants and each
defendant were acting within the scope of said agency, employment, partnership, co-venture, or
representation.

7. Venue in this jurisdiction is proper since the claim arises out of misconduct in the
County of Los Angeles.

8. In or about 1991, Hymanson created the Bodyblade, a medical rehabilitation and
fitness product. The Bodyblade functions through the use of a blade that the user drives from a
center grip. The blade then oscillates giving a point of resistance to the user building the body
from the center out, activating the core and upper and lower body. Because of the frequency and
rapid contractions of the user’s muscles, Bodyblade will automatically activate the precise muscle
thousands of times in each workout. This allows a higher level of training to be possible in a
relatively short period of time compared to normal conventional fitness regimens. This function is
adaptable to the strengthening of other parts of the body, including most notably the muscle

groups known as the core. This product is unique in the field and has been enormously successful.

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9. The U.S, Patent and Trademark Office (PTO) granted to Hymanson as the inventor
of the Bodyblade the following now-expired design and utility patents:

4,964,633 Isokinetic Oscillating Exercise Apparatus

5,147,262 Isokinetic Oscillating Exercise Apparatus

D321,733 Isokinetic Oscillating Exerciser.

10. | Hymanson also is the sole shareholder of Hymanson, Inc. dba Bodyblade (“HI”).
HI has been selling Bodyblades since 1991.

11. In 2009, HI entered into a License and Distribution Agreement (“Agreement”)
which was later amended and extended. On July 13, 2016, HI provided Mad Dogg with notice
that it did not intend to renew the Agreement when it expired on August 31, 2016.

12. Between 2009 and 2016, Hymanson provided Cook and other representatives of
Mad Dogg with information about Hymanson’s ideas and designs for medical rehabilitation and
fitness products and proposed methods for manufacturing those products. This information
(collectively, the “Hymanson Inventions”) was provided in confidence and was not to be used by
Cook or Mad Dogg without Hymanson’s knowledge or consent.

13. On or about June 15, 2017, Cook signed a Declaration purporting to be the inventor
of an Isokinetic Oscillation Exercise Device and Method of Producing Same. The referenced
invention reflected and incorporated the Hymanson Inventions that Hymanson had shared with
Cook in confidence.

14. On or about June 15, 2017, Cook signed an Assignment document purporting to
assign to Mad Dogg any interest he held in the Isokinetic Oscillation Exercise Device and Method
of Producing Same. On information and belief, that Assignment document listed John Cook as the
sole inventor.

15. On or about July 6, 2017, Mad Dogg filed an application for patent which was
accorded Application No. 15/643,320 entitled and disclosing an “Isokinetic Oscillation Exercise
Device and Method of Producing Same” (the “’320 Application”). The ’320 Application
identified Cook as the sole inventor. The 320 Application reflected and incorporated the
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Hymanson Inventions that Hymanson had shared with Cook in confidence. The 320 Application
was published by the PTO as publication no. US2018/0008859 on January 11, 2018.

16. On or about July 7, 2017, Mad Dogg recorded in the PTO the Assignment
document from Cook, recorded in the PTO’s assignment records at Reel 042926, Frame 0998.

17. On or about July 7, 2017, Mad Dogg filed an international patent application with
the World Intellectual Property Organization (WIPO), which accorded to that filing application no.
PCT/US2017/041159 (“the “PCT Application”). WIPO published that application as publication
no. WO2018/009840 on January 11, 2018. That Application disclosed, incorporated and claimed
the Hymanson Inventions.

18. On information and belief, when Cook signed the Inventor Declaration he knew
that Hymanson had contributed inventive subject matter which was being disclosed and claimed in
the °320 Application. Notwithstanding the foregoing, the Inventor Declaration failed to list
Hymanson as an inventor.

19. On information and belief, when Mad Dogg filed the °320 Application and the PCT
Application, it knew or should have known that Hymanson was, at minimum, a co-inventor due to
the incorporation of the Hymanson Inventions into those applications. Notwithstanding the
foregoing, Mad Dogg failed to identify Hymanson as an inventor or co-inventor and failed to
request or obtain an assignment of the invention from Hymanson.

20. _ By virtue of the Assignment by Cook, Mad Dogg accepted joint and several
responsibility for the obligations that Cook owed to Hymanson.

21. Hymanson only recently became aware of Defendants’ misconduct.

FIRST CAUSE OF ACTION
(Breach of Implied-In Fact Contract)

22. | Hymanson incorporates the allegations in Paragraphs 1 through 21 as if said
allegations were set forth in full herein.

23. This cause of action is directed against Defendants Cook and Mad Dogg.

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24. | Hymanson shared the Hymanson Inventions in confidence with Cook and Mad
Dogg with the expectation and understanding that they would not use the Hymanson Inventions
nor convert or purport to transfer any rights therein without Hymanson’s express consent.

25. Cook knew that Hymanson was not transferring or relinquishing his confidential
ideas, designs, and processes to Cook or Mad Dogg.

26. Mad Dogg knew that Hymanson was not transferring or relinquishing his
confidential ideas, designs, and processes to Cook or Mad Dogg.

27. Cook breached the implied contract by signing an inventor declaration which failed
to credit Hymanson for the invention and assigning the purported invention to Mad Dogg.

28. Mad Dogg breached the implied contract by filing one or more applications for
letters patent with the PTO and WIPO without disclosing Hymanson’s inventorship and ownership
of the inventions disclosed and claimed within those applications.

29. Asa result of Defendants’ misconduct, Hymanson was deprived of just
compensation for the Hymanson Inventions, was prevented from filing for patents on the
Hymanson Inventions, and was denied the ability to assign the Hymanson Inventions to a third
party.

30. | Hymanson has been damaged in an unascertained amount which is believed to be
in excess of the jurisdiction of this Court.

31. | Hymanson has also been damaged in that he was denied ownership of the

 

Hymanson Inventions, and the Hymanson Inventions have been passed off as the inventions of
another.
SECOND CAUSE OF ACTION
(Breach of Confidence)

32. | Hymanson incorporates the allegations in Paragraphs | through 31 as if said

allegations were set forth in full herein.
33. This cause of action is directed against all Defendants.
34, By virtue of the facts alleged above, Cook owed a duty of confidence to Hymanson

and had a duty to guard the Hymanson Inventions from improper disclosure to third parties or any

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act or omission that allowed a third party to misuse the Hymanson Inventions for its own profits,
gain, or personal purpose.

35. Cook breached this duty of confidence by signing a declaration of invention and an
assignment of invention to Mad Dogg that failed to disclose Hymanson’s inventorship and
ownership of the Hymanson Inventions, and by assisting Mad Dogg in filing for the '320
Application.

36. By virtue of the assignment and its knowledge of Hymanson’s development and
involvement in the Hymanson Inventions that were the subject of the "320 Invention, Mad Dogg
owed a duty to guard the Hymanson Inventions and to prevent the Hymanson Inventions from
being used for the gain or profit of third parties, including Mad Dogg.

37. | Mad Dogg breached its duty of confidence by filing one or more patent
applications, thereby disclosing the Hymanson Inventions to others, including to the public.

38. Hymanson is informed and believe that Baudhuin directed, authorized, and/or
controlled the decision to conceal Hymanson’s role as the inventor or, at minimum, co-inventor of
the Hymanson Inventions.

39. | Hymanson has been damaged in its unascertained amount which is believed to be
in excess of the jurisdiction of this Court.

THIRD CAUSE OF ACTION
(Conversion)

40. | Hymanson incorporates the allegations in Paragraphs 1 through 39 as if said
allegations were set forth in full herein.

41. This cause of action is directed against all Defendants.

42. | Hymanson owned the Hymanson Inventions that he shared with Cook.

43. Cook converted Hymanson’s property by, among other things, signing a
declaration of invention that did not disclose Hymanson’s inventorship and ownership of the
Hymanson Inventions without Hymanson’s knowledge or consent, and taking other actions that

were inconsistent with Hymanson’s property rights.

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44. Mad Dogg converted Hymanson’s property by filing an application for patent
which did not disclose Hymanson’s ownership of the Hymanson Inventions and taking other steps
that were inconsistent with Hymanson’s property rights.

45. | Hymanson is informed and believes that Baudhuin directed, authorized, and/or
controlled the decision to conceal Hymanson’s role as the inventor or, at minimum, co-inventor of
the Hymanson Invention.

46. Asa result of Defendants’ misconduct, Hymanson was deprived of just
compensation for the Hymanson Inventions, was prevented from filing a patent for the Hymanson
Inventions, and was denied the ability to assign the Hymanson Inventions to a third party.

47. | Hymanson has been damaged in an unascertained amount which is believed to be
in excess of the jurisdiction of this Court.

48. | Hymanson has also been damaged in that he was denied ownership of the

Hymanson Inventions, and the Hymanson Inventions have been passed off as the inventions of

another.
49. In doing the things herein alleged, Defendants acted willfully and with the intent to
cause injury to Hymanson. Defendants are therefore guilty of malice, oppression, or fraud

warranting an assessment of exemplary damages in an amount appropriate to punish them and to
deter others from engaging in similar misconduct.
FOURTH CAUSE OF ACTION
(Declaratory Relief)

20. _Hymanson incorporates the allegations in Paragraphs 1 through 49 as if said
allegations were set forth in full herein.

51. This cause of action is directed against Defendants Cook and Mad Dogg.

52. A dispute has arisen between Hymanson and Defendants Cook and Mad Dogg with
respect to ownership of the Hymanson Inventions.

53. | Hymanson contends that he is an inventor of the Hymanson Inventions.

54. _ Based on their filings, Hymanson is informed and believes that Cook and Mad

Dogg dispute this contention and contend, instead, that they own the Hymanson Inventions.

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55. A judicial determination is required as to the ownership rights of the Hymanson
Inventions.

WHEREFORE, Hymanson prays for judgment against all Defendants as follows:

, AS TO FIRST CAUSE OF ACTION:

1. Damages according to proof.

2. Attorney’s fees and costs.

3. Interest from date of breach.

4. A declaration from the Court that Hymanson is the original inventor or a co-
inventor of U.S. Patent Application No. 15/643,320 and PCT Patent Application No.
PCT/US2017/041159, and any other national, international, or foreign patent applications that
correspond to, or claim priority from, or constitute national phase applications of, those patent
applications.

5, An order that Cook and Mad Dogg assign to Hymanson ownership or co-ownership

of U.S. Patent Application No. 15/643,320 and PCT Patent Application No. PCT/US2017/041 159,

and any other national, international, or foreign patent applications that correspond to, or claim

priority from, or constitute national phase applications of, those patent applications.
6. Such other relief as the Court deems just and proper.
AS TO SECOND CAUSE OF ACTION:
1, Damages according to proof.
2. Attorney’s fees and costs.
3. Interest from date of breach.
4, A declaration from the Court that Hymanson is the original inventor or a co-

inventor of U.S. Patent Application No. 15/643,320 and PCT Patent Application No.
PCT/US2017/041159, and any other national, international, or foreign patent applications that
correspond to, or constitute national phase applications of, those patent applications.

5. An order that Cook and Mad Dogg assign to Hymanson ownership or co-ownership

of U.S. Patent Application No. 15/643,320 and PCT Patent Application No. PCT/US2017/041 159,

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and any other national, international, or foreign patent applications that correspond to, or
constitute national phase applications of, those patent applications.

6. Such other relief as the Court deems just and proper.

AS TO THIRD CAUSE OF ACTION:

1. Damages according to proof.

2. Punitive and Exemplary Damages.

3. A declaration from the Court that Hymanson is the original inventor or a co-
inventor of U.S. Patent Application No. 15/643,320 and PCT Patent Application No.
PCT/US2017/041159, and any other national, international, or foreign patent applications that
correspond to, or constitute national phase applications of, those patent applications.

4, An order that Cook and Mad Dogg assign to Hymanson ownership or co-ownership
of U.S. Patent Application No. 15/643,320 and PCT Patent Application No. PCT/US2017/041 159,
and any other national, international, or foreign patent applications that correspond to, or
constitute national phase applications of, those patent applications.

5. Such other relief as the Court deems just and proper.

AS TO FOURTH CAUSE OF ACTION

l. An order that Cook and Mad Dogg assign to Hymanson ownership or co-ownership
of U.S. Patent Application No. 15/643,320 and PCT Patent Application No. PCT/US2017/041 159,
and any other national, international, or foreign patent applications that correspond to, or
constitute national phase applications of, those patent applications,

2, Such other relief as the Court deems just and proper.

DATED: June 6, 2019 ANDERSON, McPHARLIN & CONNERS LLP

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Kenneth D. Watnick
Attorneys for Plaintiff BRUCE HYMANSON

 

 

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DATED: June 6, 2019

 

 

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DEMAND FOR JURY TRIAL

Hymanson demands a trial by jury.

ANDERSON, McPHARLIN & CONNERS LLP

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Kenneth D. Watnick
Attorneys for Plaintiff BRUCE HYMANSON

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COMPLAINT

 
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EXHIBIT B
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ee PSR, A GPEC: ME Mande HDE a AGS PULA Sane Mts Rat yn nA one ce
. SUMMONS FOR COURT USE ONLY

co ‘ (SOLO PARA USO DE LA CORTE)
(CITACION JUDICIAL)

NOTICE TO DEFENDANT:

(AVISO AL DEMANDADO):

MAD DOGG ATHLETICS, INC.; JOHN COOK: JOHN BAUDHUIN; AND DOES

4 THROUGH 10, INCLUSIVE

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
BRUCE HYMANSON

 

 

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the Califomia Courts
Online Self-Help Center (wwiw.courtinia.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask
the court clerk for a fee walver form, If you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an attomey right away, If you do not know an attorney, you may want to call an attorney
referral service, If you cannot afford an attomey, you may be eligible for free legal services from a nonprofit iegal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.fawhelpcalifornia.org), the California Courts Online Self-Help Center
(www. courtinfo.ca.gov/selfhelp), or by contacting your focal court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a clvil case, The court's flen must be pald before the court will dismiss the case.
JAVISO! fo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su versién. Lea ja informacion a
continuacién,

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacién y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entreque una copia al damandante. Una carta o una Hamada telefénica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en fa corte. ES posible que haya un formulario que usted pueda usar para su respuesta,
Puede encontrar astes formutarios de la corte y mas informacién en ef Centro de Ayuda de las Cortes de Califomia (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en fa corte que ie quede mas cerca. Si no puede pagar fa cuota de presentacion, pida al secretario de la corte
que le dé un formulario de exencién de pago de cuotas. Sino presenta su respuesta a tempo, pusde perder el caso por incumplimiento y la corte te
podra quitar su sueido, dinero y bienes sin mas advertencia.

Hay otros requisitos tegales. Es recomendable que ilame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisién a abogados., Sino puede pagar a un abogado, es posible gue cumpla con jos requisitos para obtener servicios legales gratultos de un
Programa de servicios legaies sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcatifornia.org), en ef Centro de Ayuda de las Cortes de Califomia, {www.sucorte.ca.gov) 0 poniéndose en contacto con fa corte o ef
colegio de abogados locales. AVISO: Par ley, Ja corte tiene derecho a reciamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperacién de $10,000 6 més de valor recibida mediante un acuerdo o una concesion de arbitraje en un caso de derecho civil. Tlene que
pagar el gravamen de fa corte antes de que fa corte pueda desechar oi caso.

 

 

 

The name and address of the court is: CASE NUMBER:
(El nombre y direccién de Ia corte es): (Némero def Casa):
Superior Court of California, County of Los Angeles 19STCY197986

 

 

 

111 North Hill Street

Los Angeles, CA 90012

Central Division, Stanley Mosk Courthouse

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is:

(EI nombre, fa direccién y ef numero de teléfono de! abogado del demandante, o del demandante que no tiene abogado, es):
Kenneth D. Watnick - Bar No. 150936 {213) 688-0080
Anderson, McPharlin & Conners LLP . . .

707 Wilshire Boulevard, Suite 4000 Los Angeles, CA 90017 Sherri R. Carter Executive Officer / Clerk of Court
DATE: Clerk, by Nancy Alvarez , Deputy
(Fecha) O6f06/2019 (Secretario) (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons {form POS-070),)

(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)),
NOTICE TO THE PERSON SERVED: You are served

1. as an individual defendant.

2. CO as the person sued under the fictitious name of (specify):

 

 

3. [on behalf of (specify):

 

 

 

under: — [[] CCP 416.10 (corporation) [J CCP 416.60 (minor)
[] CCP 416.20 (defunct corporation) [_] CCP 416.70 (conservatee)
[] ccp 416.40 (association or partnership) [1] CCP 416.90 (authorized person)
C1] other (specify):

 

4, Pil by personal delivery on (date):

 

 

Page 1 of1
Form Adopted for Mandatory Use SUMMONS American LegaiNel. Inc. Code of Civ Procedure §§ 412.26, 465
Judicial Cauncit of California wwow.FormaWorkdlow.com wiww.courtinfo.ca.gov
SUM-100 [Rav. July 1, 2009} : -

 

 

 
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EXHIBIT C
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page180f41 Page ID#18
“‘lectronically FILED by Superior Court of California, County of Los Angeles on O6/06/201 OE trex Ay Ayer A. Carter, Executive Officer/Clerk of Court, by N. Alvarez, Deputy(Mu010

 

| ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address): FOR COURT USE ONLY

_ Kenneth D. Watnick 150936

Anderson, McPharlin & Conners LLP

707 Wilshire Boulevard, Suite 4000

Los Angeles, CA 90017

TELEPHONE No. (213) 688-0080 Faxno: (213) 622-7594
ATTORNEY FOR (ane): Plaintiff Bruce Hymanson
SUPERIOR COURT OF CALIFORNIA, COUNTY of LOS ANGELES
street appress: 111 North Hill Street
MAILING ADDRESS:
city anb zip cove: Los Angeles 90012
srancn name: Central Division, Staniey Mosk Courthouse __
CASE NAME: BRUCE HYMANSON v. MAD DOGG ATHLETICS, INC., ET AL.

 

 

 

 

 

 

CIVIL CASE COVER SHEET Complex Case Designation CASE NUMBER:
J Unlimited C1 Limited C counter (1 Joinder 19STCY19"98
(Amount (Amount UDG:
demanded demanded is Filed with first appearance by defendant °
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:

 

 

lfams 1~6 belaw must be completed (see instructions on page 2).
1. Check one box below for the case type that best describes this case:

 

 

 

Auto Tort Contract Provisionaliy Compfex Civil Litigation
L] Auto (22) [} Breach of contractfwarranty (06) (Cal. Rules of Court, rules 3.400-3.403)
Uninsured motorist (46) [] Rute 3.740 collections (09) {-]  Antitrust/Trade regulation (03)
Other PHPDAWD (Personal Injury/Property "] Cther collections (09) C] Construction defect (10)
DamagefWrongful Death) Tort T] Insurance coverage (18) LC] Mass tort (40)
[] Asbestos (04) [] Other contract (37) [J Securities titigation (28)
Product liability (24) Real Property [-]  Environmental/Toxic tort (30)
Medical malpractice (45) (] Eminent domain/inverse [-] Insurance coverage claims arising from the
CI Other PI/PDAWD (23) condemnation (14) above listed provisionally complex case
Non-PI/PDAWD (Other) Tort ["] Wrongful eviction (33) types (44)
Business tort/unfair business practice (07} | Other real property (26) Enforcement of Judgment
[}  Civit rights (08) Untawful Detainer [J] Enforcement of judgment (20)
Cj Defamation (13) | Commercial (31) Miscellaneous Civil Complaint
[] Fraud (16) [_] Residential (32) [] Rico (7)
Cl intellectual property (19) | Drugs (38) | Other complaint (not specified above} (42)
| Professional negligence (25) Judicial Review Miscellaneous Civil Petition
[J] Other non-PYPDWD tort (35) T| Asset forfeiture (05) CT] Partnership and corporate governance (21)
Employment [_] Petition re: arbitration award (11) ["] Other petition (not specified above) (43)
Wrongful termination (36) [] writ of mandate (025
[] Other employment (15) [] _ Other judicial review (39)

 

 

2. Thiscase [lis ig not complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:

a. ([] Large number of separately represented parties d. [] Large number of witnesses

b. [J] Extensive motion practice raising difficult or novel e. Cc Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court

c. £] Substantial amount of documentary evidence f. (1)  Substantiat postjudgment judicial supervision

Remedies sought (check all that apply): a. X} monetary b. DX} nonmonetary; declaratory or injunctive relief _c. XI punitive

Number of causes of on (specify): 4

This case [] is isnot aclass action suit,

Hf there are any Known. related cases, file and serve a notice of related case. ( You may use form,
Date: June 6, 2019 th 1 ee _
Kenneth D. Watnick a * a,
— (TYPE OR PRINT NAME) 1 (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)

NOTICE
e Plaintiff must file this cover sheet with the first paper filed In the action or proceeding (except small claims cases or cases fited

under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
in sanctions.

® File this cover sheet in addition to any cover sheet required by tocal court rule.

® If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on alt
other parties to the action or proceeding.

s Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only. tera
age | a

 

OO hw

 
 

 

 

 

 

 

 

Form Adopted for Mandatory Use Cal, Rules of Cour, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of California CIVIL CASE COVER SHEET Cal. Slandards of cata Administration, sid, 3.10
CM-010 [Rev. July 1, 2007] win. courtinia.ca. gov

 
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 19 of 41 Page ID#:19

. CM-010
, INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

To Plaintiffs and Others Filing First Papers. if you are filing a first paper (for example, a complaint) in a civil case, you must
compiete and file, along with your first paper, the Civi! Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.

To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money
owed in a sum stated to be certain that is not more than $25,000, exclusive of interest and attomey’s fees, arising from a transaction in
which property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tart
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.

To Parties in Complex Cases. In complex cases only, parties must also use the Givi! Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the Califomia Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. if a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on ail parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the

 

plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that

the case is complex.

Auto Tort
Auto (22}-Personal Injury/Property
Damage/Wrongful Death
Uninsured Motorist (46) (/f the
case involves an uninsured
motorist claim subject to
arbitration, check this item
instead of Auto)
Other PI/PD/AWD (Personal Injury!
Property Damage/Wrongful Death)
Tort

Asbestos (04)

Asbestos Property Damage
Asbestos Personal Injury/
Wrongful Death
Product Liability (not asbestos or

foxic/environmental) (24)

Medical Malpractice (45)

Medical Malpractice—
Physicians & Surgeons

Other Professional Health Care
Malpractice

Other PUPD/WD (23)

Premises Liability (e.g., slip

and fall)

intentional Bodily Injury#PDAVD
(e.g., assault, vandalism)

intentional Infiictlon of
Emotional Distress

Negligent infliction of
Emotional Distress

Other PI/PDAWD

Non-PHPDAWD (Other) Tort

Business Tort/Unfair Business
Practice (07)

Civil Rights (@.9., discrimination,
false arrest) (not civil
harassment) (08)

Defamation (e.9., stander, libel)

Fraud (16)

Intellectual Property (19)

Professional Negligence (25)
Legal Malpractice
Other Professional Malpractice

(not medical or legal}
Other Non-PI/PDWD Tort (35)
Employment

Wrongful Termination (36) Other

Employment (15)

CM-010 (Rev. July 1, 2007}

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongtul eviction)

ContractWarranty Breach—Seller
Plaintiff (not fraud or negligence)

Negligent Breach of Contract’
Warranty

Other Breach of Contract(Warranty

Collections (e.g., money owed, open
book accounts) (08)

Collection Case—Seller Ptaintiff
Other Promissory Note/Collections
Case

Insurance Coverage (not provisionally
complex) (18)

Auto Subrogatian
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Real Property

Eminent Domain/Inverse
Condemnation (14)

Wrongful Eviction (33)

Other Real Property (e.g., quiet tile) (26)
Writ of Possession of Real Property
Mortgage Foreclosure
Quiet Title
Other Real Property (rot eminent
domain, fandlord/ienant, or
foreclosure)

Unlawful Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case involves illegal
drugs, check this iter; otherwise,
report as Commercial or Residential)

Judicial Review

Asset Forfeiture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judicial Review (39)

Review of Health Officer Order
Notice of Appeal-Labor
Commissioner Appeals

CIVIL CASE COVER SHEET

Provisionatly Complex Civil Litigation (Cal.
Rules of Court Rules 3.400-3,403)

AntitrustTrade Regulation (03)
Construction Defect (10)
Claims Involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxic Tort (30)
Insurance Coverage Clalms
(arising from provisionally complex
case type listed above) {41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County)
Confession of Judgment (non-
domestic relations)
Sister State Judgment
Administrative Agency Award
(not unpaid taxes)
Petition/Certlfication of Entry of
Judgment on Unpaid Taxes
Other Enforcement of Judgment

Case
Miscellaneous Civil Complaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
injunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commercial Complaint
Case (non-tort/non-complex)
Other Civil Complaint
(non-iort/non-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petition (not specified
above) (43)
Civil Harassment
Workplace Violence
Elder/Dependent Adult
Abuse ;
Election Contest
Petition for Name Change
Petition for Relief From Late
Cialm
Other Civil Petition

Page 2 of 2

 

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x

 

SHORT TITLE: CASE NUMBER

BRUCE HYMANSON v. MAD DOGG ATHLETICS, INC., ET AL.

 

 

 

CIVIL CASE COVER SHEET ADDENDUM AND
STATEMENT OF LOCATION
(CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO COURTHOUSE LOCATION)

 

This form is required pursuant to Local Rule 2.3 in all new civil case filings in the Los Angeles Superior Court.

 

 

Step 1: After completing the Civil Case Cover Sheet (Judicial Council form CM-010), find the exact case type in
Column A that corresponds to the case type indicated in the Civil Case Cover Sheet.

Step 2: in Column B, check the box for the type of action that best describes the nature of the case.

Step 3: In Column C, circle the number which explains the reason for the court filing location you have chosen.

 

Applicable Reasons for Choosing Court Filing Location (Column C)

 

 

 

1. Class actions must be filed in the Stanley Mosk Courthouse, Central District. 7. Location where petitioner resides.

2. Pernissive filing in central district. 8. Location wherein defendant/respondent functions wholly.

3. Location where cause of action arose. 9. Location where one or more of the parties reside.

4. Mandatory personal injury filing In North District. 10. Location of Labor Commissioner Office.

5. Location where performance required or defendant resides. 11, Mandatory filing location (Hub Cases — unlawful detainer, limited

non-collection, limited collection, or personal injury).

6. Location of property or permanently garaged vehicle.

 

 
 

Sees

Auto (22) [_] A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful Death 4,4,11

 

 

 

 

 

 

 

 

 

 

 

2
=t
36
<e Uninsured Motorist (46) [] A7110 Personal Injury/Property Damage/Wrongful Death - Uninsured Motorist | 1, 4, 11
e—_—eo lle ee
[_] A6070 Asbestos Property Damage 1,14
bestos (04
zy Asbestos (04) [_} 7221 Asbestos - Personal InjuryWrongful Death 111
ge
£ 3 Product Liability (24} [} A7260 Product Liability (not asbestos or toxicfenvironmental) 1,4, 11
> a
53 : [-] A7210 Medical Malpractice - Physicians & Surgeons 14,11
c M | Mag; ice (45
= 2 Saical Malpractice (45) [_] A7240 Other Professional Health Care Malpractice 1,4,14
S x
5 5
2B (1) 47250 Premises Liability (e.g., slip and fall) 4441
= = inbey o on Cj AT230 Intentional Bodily Injury/Proparty Damage/Wronoful Death (e.g.., 14.14
2 ry Prop assault, vandalism, ete.) mm
= o Damage Wrongful . _ 14.41
Death (23) [3 7270 Intentional infliction of Emotionat Distress ia "4
| A7220 Other Personal Injury/Property Damage/Wrongful Death .
LASC CIV 709 Rev. 12/18 CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
or Mandetory Use AND STATEMENT OF LOCATION Page 1 of 4

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fo

 

 

SHGRT TITLE:

BRUCE HYMANSON v. MAD DOGG ATHLETICS, INC., ET AL.

CASE NUMBER

 

 

Non-Personal Injury/ Property
Damage/ Wrongful Death Tort

 

 

 

 

 

 

 

 

Business Tort (07) A6029 Other Commercial/Buslness Tort (not fraud/breach of contract) 1{2)3

Civil Rights (08) [—] A6005 Civil Rights/Discrimination 1, 2,3
Defamation (13) [1 as010 Defamation (slanderiibel) 1,2,3
Fraud (16) [7] 46013 Fraud (no contract) 4,2,3
Professional Negligence (25) O A607 Legal Matpraciice Pee
[_] 6050 Other Professional Malpractice (not medical or legal) 1,2,3

Other (35) [-] A6025 Other Non-Personat Injury/Property Damage tort 1,2,3

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

# Wrongful Termination (36) | [_] A6037 Wrongful Termination 1,2,3
a
&
= Other Employment (48) {_] A6024 Other Employment Complaint Case 1,2,3
E {_]} A6109 Labor Commisstoner Appeals 10
: ie)
(1 A6004 Breach of Rental/Lease Contract (not unlawful detainer or wrongful 25
eviction ,
Breach of Contract! Warranty ) 2,5
oO A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negtigence) hoe
(not insurance) ["] A6019 Negligent Breach of Contract(Wareanty (ne fraud) ™
["] A6028 Other Breach of Contract/Warranty (not fraud or negligence) 1.25
% Collections 409) (-] a6002 Collections Case-Seller Plaintiff 5,6, 11
£ (C1 a60o12 Other Promissory Note/Gollections Case 5, 14
8 Tj A6034 Collections Case-Purchased Debt (Charged Off Consumer Debt 5,6, 11
Purchased on or after January 1, 2014)
insurance Coverage (18) [] A015 Insurance Coverage (not complex} 1,2,5,8
(1 Aso09 Contractual Fraud 1,2,3,5
Other Contract (37) Ol A6031 Tortious Interference 4,2,3,5
| 46027 Other Contract Dispute(not breach/Insurance/fraud/negligence) 1,2,3,8,9
—— a a SE SR
z Eondanmation (t 4) CI A7300 Eminent Domain/Condemnation Number of parcels 2,6
& Wrongful Eviction (33) O A6023 Wrongful Eviction Case 2.6
&
5 (J asois Mortgage Foreclosure 2.6
& Other Real Property (26) C AG032 Quiet Tite 2,6
CJ A6060 Other Real Property (not eminent domain, tandlordfenant, foreclosure} | 2,6
gj Uniewh sieve CI A6021 Unlawful Detainer-Commercial (no! drugs or wrongful eviction) 6, 11
‘sg - -
a a a Residential Cc A6020 Unlawful Detainer-Residenital (not drugs or wrongful eviction) 6, 11
3
Unlawful .
2 Detalner-Post-Foreclosure (34) ([] A020F Untawful Detainer-Post-Foreclosure 2,6, 14
5 Uniawtul Detainer-Drugs (38) | [] A6022 Unlawful Detainer-Drugs 2, 6, 14
LASC Civ 108 Rev. 12/18 CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
For Mandatory Use Page 2 of 4

AND STATEMENT OF LOCATION

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SHORT TITLE:

BRUCE HYMANSON v. MAD DOGG ATHLETICS, INC., ET AL.

CASE NUMBER

 

 

 

Judicial Review

 

 

 

 

 

 

Asset Forfeiture (05)
Patition re Arbitration (11) Cj A6115 Petition to Compel/Confirm/Vacate Arbitration 2,5 .
["] A6451 Writ - Administrative Mandamus 2,8
Writ of Mandate (02) (-] 46152 Writ - Mandamus on Limited Court Case Matter 2
{-] 46153 Writ - Other Limited Court Case Review 2
Other Judicial Review (39) | [_] A6150 Other Writ Judicial Review 2.8

 

 

Sy

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

5 Antitrus/Trade Regulation (03) | [] A6003 Antitrust/Trade Regulation 1,28
2 Construction Defect (10) | [7] A6007 Construction Defect 1,2,3
=
x 5
_ Claima aa Mass Tort | [7] as006 Claims Involving Mass Tort 12,8
—
o
o Securities Litigation (28) | ["] A6035 Securtties Litigation Case 1,2,8
a
& Toxic Tort .
$ Environmental (30) [] A6036 Toxic Tort/Environmental 1,2, 3,8
>
e i ec
a Om (Complies Ease at) (] A6044 insurance Coverage/Subrogation (compiex case only) 1,2,5,8
——————_———————————————————————————————————_—_—_—X—X—X—_—____1___
. (_] A6141 Sister State Judgment 25,14
a e [J 6160 Abstract of Judgment 2,6
5 Ee Enforcement Cl 46107 Confession of Judgment (non-domestic relations) 2,9
3 3 of Judgment (20) [7] A6140 Administrative Agency Award (not unpaid taxes) 2,8
as (1) 46114 Petition/Certificate for Entry of Judgment on Unpaid Tax: 2,8
(1 46112 Other Enforcement of Judgment Case 2,8,9
g g RICO (27) [] A6033 Racketeering (RICO) Case 1,2,8
eg 3 [7] A6oz0 Declaratory Relief Only 1.2,8
3 S Other Complaints O A6040 Injunctive Relief Only (not domestic/harassment) 2,8
3 -
= (Not Specified Above) (42) | [] a6041 Other Commercial Complaint Case (non-tort/non-compiex) 12,8
2G
(J asooo Other civil Complaint (non-torfnon-complex) 1,2,8
eee eESoaoaoaoamRDhMDnDDy“L—L—LLDaD@[E=SSSSSS
an :
re Govenmnean Oo A6113 Partnership and Corporate Governance Case 2.8
[7] 6121 Civil Harassment With Damages 2,3,9
W wy
3 5 [7] A6123 Workplace Harassment With Damages 2,3,9
5 = (J A6124 Elder/Dependent Adult Abuse Case With Damages 2, 3,9
8 = Speciied Abowes (43) _ | EJ) A6190 Election Contest 2
=6 L] a6110 Petition for Change of Name/Change of Gender 2,7
["} 46170 Petition for Relief from Late Claim Law 2,3,8
(J 46100 Other Civil Petition 2.9
LASC GN 108 Rev. 1218 CIVIL CASE COVER SHEET ADDENDUM Local Rule 2:3
AND STATEMENT OF LOCATION ———

American LegalNet, Inc.

we For: Wark Clog. e

 
 

 

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SHORT TITLE: CASE NUMBER

BRUCE HYMANSON v. MAD DOGG ATHLETICS, INC., ET AL.

 

 

 

Step 4: Statement of Reason and Address: Check the appropriate boxes for the numbers shown under Column C for the

type of action that you have selected. Enter the address which is the basis for the filing location, including zip code.
(No address required for class action cases).

 

ADDRESS:
REASON: 2111 Narcissus Court

O1.&203040s506.070s Oe Own.

 

 

 

 

 

 

 

Ciry: STATE: ZIP CODE:
Venice CA 90291
Step 5: Certification of Assignment: | certify that this case is properly filed in the Central District of

 

the Superior Court of California, County of Los Angeles [Cade Civ. Proc., §392 et seq., and Local Rule 2.3(a)(1)(E)].

he Ap

(SIGNATURE OF ATTORNEY/FILING PARTY)

Dated: June 6, 2019

 

PLEASE HAVE THE FOLLOWING ITEMS COMPLETED AND READY TO BE FILED IN ORDER TO PROPERLY
COMMENCE YOUR NEW COURT CASE:

Original Complaint or Petition.
If filing a Complaint, a completed Summons form for issuance by the Clerk,
Civil Case Cover Sheet, Judicial Council form CM-010.

Civil Case Cover Sheet Addendum and Statement of Location form, LACIV 109, LASC Approved 03-04 (Rev. 02/16).
Payment in full of the filing fee, unless there is court order for waiver, partial or scheduled payments.

A signed order appointing the Guardian ad Litem, Judicial Council form ClIV-010, if the plaintiff or petitioner is a minor
under 18 years of age will be required by Court in order to issue a summons.

oo k ON

7. Additional copies of documents to be conformed by the Clerk. Copies of the cover sheet and this addendum must
be served along with the summons and camplaint, or other initiating pleading in the case.

 

LASC CIV 109 Rev. 12/18 CIVIL CASE COVER SHEET ADDENDUM Local Rule 2.3
——— AND STATEMENT OF LOCATION Page 4 of 4

 

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Superior Court of Callfornds
County of Low Angales

  

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Los Angeles Gounty
Bar Association
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Fer Optional Use

Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 240f41 Page ID#:24

VOLUNTARY EFFICIENT LITIGATION STIPULATIONS

 

 

The Early Organizational Mesting Stipulation, Discovery
Resolution Stipulation, and Motions in Limine Stipulation are
voluntary stipulations entered into by the parties. The parties
may enter into one, two, or all three of the stipulations;
however, they may not aller the stipulations as written,
because the Court wants to ensure uniformity of application.
These stipulations are meant to encourage cooperation
between the parties and to assist in resolving Issues In a
manner that promotes economic case resolution and judicial
efficiency.

The following organizations endorse the goal of
promoting aificiancy in litigation and ask that counsel
consider using these stipulations as a voluntary way to
Promote communications and procedures among counsel
and with the court to fairly resolve issues in their cases.

@Los Angeles County Bar Association Litigation Section@

@ Los Angeles County Bar Association
Labor and Employment Law Sectioné

Consumer Attorneys Association of Los Angeles}
Southern California Defense Counsal@
Association of Business Trial Lawyers@

California Employment Lawyers Associationé
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 25 o0f41 Page ID#:25

EXHIBIT D
 

 

 

Case 2t/19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 26 of 41 Page ID #:26
1 || Hubert H. Kuo (SBN 204036)
Jennifer Berschauer (SBN 203977)
2 || David Yu (SBN 276471)
ARDENT LAW GROUP, P.C.
3 ||4340 Von Karman Ave., Suite 290
Newport Beach, CA 92660
4 |/Telephone: (949) 299-0188
Facsimile: (949) 299-0127
5
Attorneys for Defendant JOHN COOK.
6
7
8 SUPERIOR COURT OF THE STATE OF CALIFORNIA
? COUNTY OF LOS ANGELES — STANLEY MOSK COURTHOUSE
10
11
12 |} BRUCE HYMANSON, an individual Case No.: 19STCV19798
— Assigned to Hon. Judge Robert B. Broadbelt
13 Plaintiff, Dept. 53
14 VS. DEFENDANT JOHN COOK’S NOTICE TO
THE CLERK OF THE SUPERIOR COURT
15 |} MAD DOGG ATHLETICS, INC.; JOHN AND ADVERSE PARTY OF REMOVAL TO
COOK; JOHN BAUDHUIN and DOES 1 FEDERAL COURT UNDER 28 U.S.C. §
16 through 10, inclusive. 1441(A) FEDERAL QUESTION
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18 Defendants.
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W Gl - I -
140 are DEFENDANT’S NOTICE TO THE CLERK OF THE SUPERIOR COURT AND ADVERSE PARTY OF
Tagine OM) tees REMOVAL TO FEDERAL COURT UNDER 28 U.S.C. § 1441(A)

 

 

 
 

 

Case 4j19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 27 of 41 Page ID #:27

1 TO THE CLERK OF THE SUPERIOR COURT OF CALIFORNIA FOR THE
2 || COUNTY OF LOS ANGELES AND TO ALL OTHER PARTIES:
3 PLEASE TAKE NOTICE that on July 26, 2019, this action was removed to the United
4 || States District Court, Central District of California, Western Division, located at 312 N. Spring St.,
5 || Los Angeles, CA 90012.
6 Attached as Exhibit 1 is a copy of the Notice of Removal of Action
7 Attached as Exhibit 2 is a copy of the Civil Cover Sheet.
8 Attached as Exhibit 3 is a copy of the Notice of Interested Parties.
9 Attached as Exhibit 4 is a copy of the Joinder in Notice of Removal of Action

10

11 || Date: July 26, 2018 ARDENT LAW GROUP, P.C.

2 LA, LJ £" L

13 Cee H¢Kuo

Jennifer Berschauer

14 David Yu

15 Attorney for Defendant JOHN COOK

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ARDENT LAW GROUP, PC “2°
#34 Von Karman ve, Ste, 20 DEFENDANT’S NOTICE TO THE CLERK OF THE SUPERIOR COURT AND ADVERSE PARTY OF
Tein: (50) 299-0188 REMOVAL TO FEDERAL COURT UNDER 28 U.S.C. § 1441(A)

 

 

 
 

 

Case 2:/19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 28 of 41 Page ID #:28
1 PROOF OF SERVICE
9 I am employed in the County of Orange, State of California. I am over the age of eighteen
(18) years and am not a party to the within action. My business address is that of 4340 Von
3 || Karman Ave., Suite 290, Newport Beach, CA 92660.
4 On July 26, 2019, at 4340 Von Karman Ave., Suite 290, Newport Beach, CA 92660,
5 || following ordinary business practices, I served a true and correct copy of the foregoing document
entitled:
6 || DEFENDANT JOHN COOK’S NOTICE TO THE CLERK OF THE SUPERIOR COURT
“ AND ADVERSE PARTY OF REMOVAL TO FEDERAL COURT UNDER 28 U.S.C. §
1441(A) FEDERAL QUESTION
8 || On interested parties in this action by placing a true and correct copy of each document thereof,
9 enclosed in a sealed envelope, addressed as follows:
10 || Kenneth D. Watnick, Esq.
ANDERSON, McPHARLIN & CONNERS LLP
11 || 707 Wilshire Blvd., Suite 4000
2 Los Angeles, CA 90017-3623
Tel: (213) 688-0080
13. || Fax: (213) 622-7594
14 || Joel D Voelzke, Esq.
IP LAW OFFICES OF JOEL VOELZKE, APC
15 || 24772 W. Saddle Peak Rd.
Malibu, California 90265
16 || Tel: G10) 317-4466
Attorneys for Plaintiff BRUCE HYMANSON
17
18 (X) BY MAIL: Iam readily familiar with the practice of Ardent Law Group, P.C. for
19 || collection and processing of correspondence for mailing with the United States Postal Service. I
know that the correspondence is deposited with the United States Postal Service on the same day
20 || this declaration was executed in the ordinary course of business. I know that the envelope was
21 || Sealed and, with postage thereon fully prepaid, placed for collection and mailing on this date,
following ordinary business practices, in the United States mail at Newport Beach, California.
22
33 (--) BY ELECTRONIC MAIL. I caused the above referenced document(s) to be transmitted
to the above-named person(s) at the referenced e-mail address(es).
24
oS Executed on July 26, 2019, at Newport Beach, California.
26 I declare under penalty of perjury under the laws of the State-9f California that the
foregoing is true and correct.
27
28
10 on Karman 290 DEFENDANT’S NOTICE TO THE CLERK OF THE SUPERIOR COURT AND ADVERSE PARTY OF
Tahoe (45) 29.08 REMOVAL TO FEDERAL COURT UNDER 28 U.S.C. § 1441(A)

 

 

 
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 29 of 41 Page ID #:29

EXHIBIT 1
Case 2:1

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ARDENT LAW GROUP, PC.
4340 Von Karman Ave., Suite 290
Newport Beach, CA 92660
Telephone: (949) 299-0188
Facsimile: (949) 299-0127

 

D-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 30 of 41 Page ID #:30

Hubert H. Kuo (SBN 204036)
Jennifer Berschauer (SBN 203977)
David Yu (SBN 276471)
ARDENT LAW GROUP, P.C.
4340 Von Karman Ave., Suite 290
Newport Beach, CA 92660
Telephone: (949) 299-0188
Facsimile: (949) 299-0127

Attorneys for Defendant JOHN COOK

BRUCE HYMANSON, an individual
Plaintiff,

VS.

MAD DOGG ATHLETICS, INC.;
JOHN COOK; JOHN BAUDHUIN
and DOES 1 through 10, inclusive.

Defendants.

 

 

 

1
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA - WESTNER DIVISION

Case No.

NOTICE OF REMOVAL OF
ACTION UNDER

28 USC 8 144104) FEDERAL
QUESTI

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant JOHN COOK hereby
removes to this Court the state court action described below.

1. On June 6, 2019, an action was commenced in the Superior Court of
the State of California, County of Los Angeles, entitled Hymanson, Bruce v.
Mad Dogg Athletics, Inc., et al., as case number 19STCV19798. Attached as
Exhibit A is a copy of the state court complaint.

2. The first date upon which Defendant JOHN COOK received a copy
of the said complaint was July 17, 2019, when Defendant was served with a
copy of the said Complaint and a summons from the said state court.

Attached as Exhibit B is a copy of the summons. Attached as Exhibit C is a

 
Case 2:19-cv-06519-CAS-MRW Document 1 Filed 07/26/19 Page 31o0f41 Page ID #31

1 || copy of the Civil Case Cover Sheet and its Addendum. Attached as Exhibit
D is a copy of Defendant’s Notice to the Clerk of the Superior Court and
Adverse Party of Removal to Federal Court Under 28 U.S.C. § 1441(A).

_ Ww WwW

3. This action is a civil action of which this Court has original

iA

jurisdiction under 28 U.S.C. § 1331, and is one which may be

removed to this Court by defendant(s) pursuant to the provisions of 28 U.S.C.
§ 1441(a) in that it arises under 28 U.S.C. § 1338(a).

8 4, Defendants MAD DOGG ATHLETICS and JOHN BAUDHUIN

9 || joined in this Notice of Removal by the filing of a Joinder in the Notice of

“aN

10 || Removal of Action.

11
12 || Dated: July 26, 2019 ARDENT LAW GROUP, P.C.

13

By: /s/ Hubert H. Kuo

14 Hubert H. Kuo
Jennifer Berschauer
15 David Yu
Attorneys for Plaintiff
16 JOHN COOK

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ARDENT LAW GROUP, PC
4340 Von Karman Ave., Suile 290
Newport Beach, CA 92660
Telephone: (949) 299-0188
Facsimile: (949) 299-0127

2
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)

 

 

 
Case 2:1

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ARDENT LAW GROUP, PC
4340 Von Kannan Ave., Suite 290
Newport Beach, CA 92660
Telephone; (949) 299-0188
Facsimile: (949) 299-0127

[9-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 32 of 41 Page ID #:32

PROOF OF SERVICE
I am employed in the County of Orange, State of California. I am over
the age of 18 and not a party to the within action; my business address is
Ardent Law Group, P.C., 4340 Von Karman Ave., Newport Beach, CA
92660.
On July 26, 2019, I served the foregoing document described as

follows:

NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)
FEDERAL QUESTION

BY U.S. FIRST CLASS MAIL

Kenneth D. Watnick, Esq.

ANDERSON, McPHARLIN & CONNERS LLP
707 Wilshire Blvd., Suite 4000

Los Angeles, CA 90017-3623

Tel: (213) 688-0080

Fax: (213) 622-7594

Joel D Voelzke, Esq.

IP LAW OFFICES OF JOEL VOELZKE, APC
24772 W. Saddle Peak Rd.

Malibu, California 90265

Tel: (310) 317-4466
Attorneys for Plaintiff BRUCE HYMANSON

Executed on July 26, 2019 at Newport Beach, California.

do (State) I declare under penalty of perjury under the laws of the State of
California that the above is true and correct.
(Federal) I declare that I am employed in the office of a member of the

bar of this court at whose direction the service was made.

David Yu | /s/ David Yu
Type or Print Name Signature

3
NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C. § 1441(A)

 

 

 
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 33 0f 41 Page ID #:33

EXHIBIT 2
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 340f41 Page ID #34

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
CIVIL COVER SHEET

I. (a) PLAINTIFFS ( Check box if you are representing yourself [_] ) DEFENDANTS

MAD DOGG ATHLETICS, INC.,; JOHN COOK; JOHN BAUDHUIN; AND DOES 1
THROUGH 10, INCLUSIVE

 

( Check box if you are representing yourself [] )

BRUCE HYMANSON

 

(b) County of Residence of First Listed Plaintiff Los Angeles
(EXCEPT IN U.S, PLAINTIFF CASES)

County of Residence of First Listed Defendant Los Angeles
(IN U.S. PLAINTIFF CASES ONLY)

 

(c) Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Kenneth D. Watnick

Anderson, McPharlin & Conners

707 Wilshire Blvd., Suite 400

Los Angeles, CA 90017 213-688-0080

Attorneys (Firm Name, Address and Telephone Number) If you are
representing yourself, provide the same information.

Hubert Kuo

Ardent Law Group

4340 Von Karman Ave., Suite 290

Newport Beach, CA 92660 949-299-0188

 

 

Il. BASIS OF JURISDICTION (Place an X in one box only.) Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)
. PTF DEF _ PTF DEF

1. U.S. Government 3. Federal Question (U.S. Citizen of This State f1 O41 Incorporated or Principal Place O404
Plaintiff Government Not a Party) of Business in this State

Citizen of Another State [7] 2 [J 2. Incorporated and Principal Place f1s505

US.G D (ind c h of Business in Another State

2. U.S. Government 4. Diversity (Indicate Citizenship | Citizen or Subject of a Foreign Nati 6 6
Defendant of Parties in Item Ill) Foreign Country [] 3 [] 3 Foreign Nation Oe

 

 

IV. ORIGIN (Place an X in one box only.)

1. Original 2. Removed from 3. Remanded from
oO Proceeding State Court CI Appellate Court

6. Multidistrict
Litigation -
Transfer

8, Multidistrict
Litigation -
Direct File

4. Reinstated or
Reopened

5. Transferred from Another
District (Specify)

L L CO L

 

V. REQUESTED IN COMPLAINT: JURY DEMAND: Yes [[] No

CLASS ACTION under F.R.Cv.P. 23: [] Yes No [_] MONEY DEMANDED IN COMPLAINT: § Unspecified
VI. CAUSE OF ACTION (cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity)

{Check "Yes" only if demanded in complaint.)

28 USCS §1338 - the underlying state court action involved an inventorship dispute over a pending patent application.

 

Vil. NATURE OF SUIT (Place an X in one box only).

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

| OTHER STATUTES CONTRACT REAL PROPERTY CONT. IMMIGRATION PRISONER PETITIONS PROPERTY RIGHTS
Ol 375 False Claims Act LC] 110 Insurance | 240 Torts to Land oO Replication ation Habeas Corpus: Cc 820 Copyrights
376 QuiTam [_] 120 Marine [] 245 Tort Product (1) 463 Alien Detainee 830 Patent
oO (31 USC 3729(a)) Liability 465 Other [7] 320 Motions to Vacate .
a C] 130 Miller Act [1] 290 All Other Real C1 Immigration Actions Sentence [ 835 Patent - Abbreviated
oO 400 State 140 Negotiable Property TORTS [] 530 General New Drug Application
Reapportionment CO instrument TORTS PERSONAL PROPERTY |[ | 535 Death Penalty (7 840 Trademark
C0 410 Antitrust 150 Recovery of oO INJURY |) 370 Other Fraud Other: SOCIAL SECURITY
i verpaymen irplane
O ‘so ane and nce O Enforcement of 315 Airplane (] 371 Truth in Lending |] 540 Mandamus/Other L} 861 HIA (1395¢f
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CO Rates/etc, Judgment C1 Product Liability oO 380 Other Personal |L] 550 Civil Rights = B62 Bidek lungi(223)
. LJ 151 Medicare Act 320 Assault, Libel & Property Damage 555 Prison Condition 863 DIWC/DIWW (405 (g))
L 460 Deportation 152R f C1 ‘stander 385 Property Damage! O 560 Civil Detainee [1] 864 SSID Title XVI
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480 C rc ait Loan (Excl, Vet) Liabllity BANKRUPTCY Confinement L] 865 RSI (405 (g))
‘consumer Credit —_— i
CI 153R , |LI 340 Marine 422 Appeal 28 FORFEITURE/PENALTY _| FEDERALTAXSUITS _|
[] 490 Cable/Sat TV ecovery Oo} 345 Marine Product |[_]
ae [] Overpayment of /L] Liability Uae ts 625 Drug Related 870 Taxes (U.S. Plaintiff or
oO ee Vet. Benefits ; gO 423 Withdrawal 28 CZ Seizure of Property 21 /L] Defendant)
modities/Exchange 160 Stockholders’ [| 350 Motor Vehicle USC 157 USC 881 871 IRS-Third Party 26 USC
890 Other Statutory CI suits Oo 355 Motor Vehicle CIVIL RIGHTS (] 690 Other CO F609
O Actions Product Liability — LABOR
891 Aaricultural Acts 190 Other 360 Other Personal [_] 440 Other Civil Rights
O 9 Contract O Inj i 710 Fair Labor Standards
893 Environmental msury L] 441 Voting O Act
CI Matters O 195 Contract 0 362 Personal Injury- 442 ,
895 Freedom of Inf, Product Liability Med Malpratice O pee ia omens oO ia tabor/Mgmt.
reedom of info. . june jousing: elations
O Act [1] _196 Franchise O Product Ubi | accommmedalons [J 740 Railway Labor Act
face REAL PROPERTY 445 American with
L] 896 Arbitration 367 Health Care/ Oo Disabilities m 751 Family and Medical
. L] 210Land [1] Pharmaceutical CZ Leave A
899 Admin. Procedures Condemnation Personal Injury Employment fave Act
[1] Act/Review of Appeal of Product Liabilit 446 American with 790 Other Labor
[J 220 Foreclosure y Oo Oo
Agency Decision 330 Rent L ‘ 368 Asbestos Disabilities-Other Litigation
950 Constitutionality of ent Lease i ; 791 Employee Ret. Inc.
O state States ity oO Ejectment O ee y [-] 448 Education O Security Act
FOR OFFICE USE ONLY: Case Number:

 

CV-71 (05/17)

CIVIL COVER SHEET

Page 1 of 3
 

Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 35 o0f41 Page ID #:35
UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

 

QUESTION A: Was this case removed
from state court?

Yes [] No

If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

STATE CASE WAS PENDING IN THE COUNTY OF:

INITIAL DIVISION IN CACD IS:

 

 

 

[x] Los Angeles, Ventura, Santa Barbara, or San Luis Obispo Western
L Orange Southern
[] Riverside or San Bernardino Eastern

 

 

 

QUESTION B: fs the United States, or
one of its agencies or employees, a
PLAINTIFF in this action?

L] Yes [xX] No

If "no, " skip to Question C. If "yes," answer
Question B.1, at right.

B.1, Do 50% or more of the defendants who reside in
the district reside in Orange Co.?

—_

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

=

O

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
Enter "Western" in response to Question E, below, and continue
from there.

 

 

QUESTION C: Is the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

C] Yes No

If "no, " skip to Question D. If "yes,” answer
Question C.1, at right.

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

—>

check one of the boxes to the right

YES. Your case will initially be assigned to the Southern Division.
Enter "Southern" in response to Question E, below, and continue
from there.

 

NO. Continue to Question C.2.

 

 

¢.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

—

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.

 

 

 

 

 

 

([] Enter "Western" in response to Question E, below, and continue
from there.
A. B. c.
fs ane cle Riverside or San Los Angeles, Ventura,
, ?
QUESTION D: Location of plaintiffs and defendants? Orange County Bernardino County | Santa Barbara, or San
Luis Obispo County
Indicate the location(s) in which 50% or more of plaintiffs who reside in this district CO CO
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the location(s) in which 50% or more of defendants who reside in this
aise reside. (Check up to two boxes, or leave blank if none of these choices C] |
apply.

 

 

D.1. Is there at least one answer in Column A?

[_] Yes

If "yes," your case will initially be assigned to the
SOUTHERN DIVISION.
Enter “Southern” in response to Question E, below, and continue from there.

If "no," go to question D2 to the right.

[x] No

=

D.2. Is there at least one answer in Column B?

[_] Yes No

If "yes," your case will initially be assigned to the

EASTERN DIVISION.

Enter "Eastern" in response to Question E, below.

If "no," your case will be assigned to the WESTERN DIVISION.

Enter "Western" in response to Question E, below.

 

QUESTION E: Initial Division?

INITIAL DIVISION IN CACD

 

Enter the initial division determined by Question A, B,C, or D above: a>

 

Western

 

QUESTION F: Northern Counties?

 

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

[_] Yes No

 

CV-71 (05/17)

CIVIL COVER SHEET

Page 2 of 3

 
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 36 of 41 Page ID #:36

UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA

CIVIL COVER SHEET

[IX(a). IDENTICAL CASES: Has this action been previously filed in this court? NO [-] YES

If yes, list case number(s):

 

IX(b). RELATED CASES: Is this case related (as defined below) to any civil or criminal case(s) previously filed in this court?

If yes, list case number(s):

NO (1) YES

 

Civil cases are related when they (check all that apply):

L] A. Arise from the same or a closely related transaction, happening, or event;

LC] B. Call for determination of the same or substantially related or similar questions of law and fact; or

LC] C. For other reasons would entail substantial duplication of labor if heard by different judges.

Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.

A civil forfeiture case and a criminal case are related when they (check all that apply):

Cl A. Arise from the same or a closely related transaction, happening, or event;

[_] B. Call for determination of the same or substantially related or simitar questions of law and fact; or

C. Involve one or more defendants from the criminal case in common and would entail substantial duplication of
labor if heard by different judges.

 

X. SIGNATURE OF ATTORNEY

(OR SELF-REPRESENTED LITIGANT): /s/ Hubert Kuo DATE: 7-26-19

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1, This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-071A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of SuitCode Abbreviation
861 HIA
862 BL
863 DIWC
863 DIWW
864 SSID
865 RSI

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certification as providers of services under the program.
(42 U.S.C. 1935FF(b))

All claims for "Black Lung” benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969, (30 U.S.C.
923)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
amended.

All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

CV-71 (05/17)

CIVIL COVER SHEET Page 3 of 3
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EXHIBIT 3
Case 2:19-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 38 of 41 Page ID #:38

NAME, ADDRESS, AND TELEPHONE NUMBER OF ATTORNEY(S)
OR OF PARTY APPEARING IN PRO PER

Ardent Law Group, P.C.

Attn: Hubert H. Kuo (SBN 204036)
David Yu (SBN 276471

4340 Von Karman Ave., Suite 290

Newport Beach, CA 92660

Tel: (949) 299-0188

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ATTORNEY(S) FOR: Defendant John Cook

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

 

 

 

Bruce Hymanson CASE NUMBER:
Plaintiff(s),
Vv.
Mad Dogg Athletics, Inc.; John Cook; John CERTIFICATION AND NOTICE
Baudhuin, and DOES 1 through 10, inclusive, OF INTERESTED PARTIES
Defendant(s) (Local Rule 7.1-1)

 

TO: THE COURT AND ALL PARTIES OF RECORD:

The undersigned, counsel of record for Defendant John Cook

or party appearing in pro per, certifies that the following listed party (or parties) may have a pecuniary interest in
the outcome of this case. These representations are made to enable the Court to evaluate possible disqualification
or recusal.

 

(List the names of all such parties and identify their connection and interest. Use additional sheet if necessary.)

 

 

PARTY CONNECTION / INTEREST
John Cook None
July 26, 2019 /s/ Hubert H. Kuo
Date Signature

Attorney of record for (or name of party appearing in pro per):

Defendant John Cook

 

 

CV-30 (05/13) NOTICE OF INTERESTED PARTIES
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EXHIBIT 4
Case 2

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Attorneys for Defendant MAD DOGG ATHLETICS, INC. JOHN COOK, and JOHN
BAUDHUIN

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA — WESTERN DIVISION

BRUCE HYMANSON, an individual | Case No.

Plaintiff, DEFENDANT MAD DOGG
ATHLETICS, INC. AND JOHN
VS. BAUDHUIN’S JOINDER IN
NOTICE OF REMOVAL OF
MAD DOGG ATHLETICS, INC.; ACTION

JOHN COOK; JOHN BAUDHUIN
and DOES 1 through 10, inclusive.

Defendants.

 

 

TO THE CLERK OF THE ABOVE-ENTITLED COURT:
Defendants MAD DOGG ATHLETICS, INC. and JOHN BAUDHUIN
hereby join in Defendant JOHN COOK’S Notice of Removal to this Court of the

state court action described in the said Notice of Removal.

Dated: July 26, 2019 ARDENT LAW GROUP, P.C.

By: /s/ Hubert H. Kuo
Hubert H. Kuo
Jennifer Berschauer
David Yu
Attorneys for Plaintiff
JOHN COOK

1
DEFENDANTS’ JOINDER IN NOTICE OF REMOVAL OF ACTION

 
Case 2}{L9-cv-06519-CAS-MRW Document1 Filed 07/26/19 Page 41 0f41 Page ID#:41

1 PROOF OF SERVICE
2 I am employed in the County of Orange, State of California. I am over
3 ||the age of 18 and not a party to the within action; my business address is
Ardent Law Group, P.C., 4340 Von Karman Ave., Newport Beach, CA
92660.

On July 26, 2019, I served the foregoing document described as

&

follows:

DEFENDANT MAD DOGG ATHLETICS, INC. AND JOHN BAUDHUIN’S
JOINDER IN NOTICE OF REMOVAL OF ACTION

oO So SN DW MN

10
Xl BY US. FIRST CLASS MAIL
11
Kenneth D. Watnick, Esq.

12 || ANDERSON, McPHARLIN & CONNERS LLP
707 Wilshire Bivd., Suite 4000

13 || Los Angeles, CA 90017-3623

Tel: (213) 688-0080

14 || Fax: (213) 622-7594

15 || Joel D Voelzke, Esq.

IP LAW OFFICES ‘OF JOEL VOELZKE, APC
16 || 24772 W. Saddle Peak Rd.

Malibu, California 90265

17 || Tel: (310) 317-4466
‘3 Attormmeys for Plaintiff BRUCE HYMANSON

19 Executed on July 26, 2019 at Newport Beach, California.

20 ||c (State) I declare under penalty of perjury under the laws of the State of
21 || California that the above is true and correct.

22 (Federal) I declare that I am employed in the office of a member of the

23 || bar of this court at whose direction the service was made.

 

 

“ David Yu /s/ David Yu
25 || Type or Print Name Signature

26

27

28

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DEFENDANTS’ JOINDER IN NOTICE OF REMOVAL OF ACTION

 

 

 
